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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA, et al.,

                     Plaintiffs,

   v.                                                  Civil Action No. 1:23-cv-10511-WGY

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.,

                     Defendants.



                       PLAINTIFFS’ MOTION IN LIMINE
              TO EXCLUDE TESTIMONY FROM MR. RICHARD SCHEFF

        Pursuant to Federal Rule of Evidence 702, the United States of America, the State of

California, the District of Columbia, the State of Maryland, the Commonwealth of

Massachusetts, the State of New Jersey, the State of New York, and the State of North Carolina

(collectively, “Plaintiffs”), respectfully move this Court for an order precluding Defendants’

industry expert Richard Scheff from offering opinions or testimony that rely on his fleet

optimization analysis as it is not based on a reliable methodology. The grounds for this motion

are fully set forth in the accompanying memorandum of law.




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Dated: September 11, 2023        Respectfully submitted,

                                 /s/ Edward W. Duffy                          .
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                                 Attorneys for the United States of America, the
                                 Commonwealth of Massachusetts, and the District of
                                 Columbia, and on behalf of all Plaintiffs




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               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

       Pursuant to Local Rule 7.1(a)(2), I hereby certify that Plaintiffs conferred with counsel

for Defendants in a good-faith effort to resolve or narrow the issues presented in this motion

prior to filing. Defendants confirmed that they oppose the motion.

                                           /s/ Edward W. Duffy
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document, which was filed with the Court through the

CM/ECF system, will be sent electronically to all registered participants as identified on the

Notice of Electronic Filing.

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